       Case 1:04-cv-10981-PBS Document 3564-16 Filed 08/08/11 Page 1 of 1
                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

                     CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                               ABBREVIATED ELECTRONIC RECORD


Case Caption:                    Kaiser Foundation Health Plan, Inc., et al v. Pfizer Inc. et al Page 15
                         _________________________________________________________________

District Court Number: 04-cv-10981
                       _________________________________________________________________


Fee:    Paid?    Yes ____ No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


Motions Pending          Yes ____ No ____                   Sealed documents          Yes ____ No ____
If yes, document #       _______________                    If yes, document #        _______________

Ex parte documents       Yes ____ No ____                   Transcripts               Yes ____ No ____
If yes, document #       _______________                    If yes, document #        2650-2654, 2764
                                                                                      _______________



Notice of Appeal filed by: Plaintiff/Petitioner ____    Defendant/Respondent ____ Other: ____

Appeal from:              Judgment, Memorandum and Order, Electronic Order 2/28/2010, 7/7/2011


Other information:



        I, Sarah Allison Thornton, Clerk of the United States District Court for the District of Massachusetts,
do hereby certify that the annexed electronic documents:
   Notice of Appeal, Judgment, Memorandum and Order, Electronic Order 2/28/2010, 7/7/2011
with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for the
                                    3562
Notice of Appeal, document # _________,                 8/5/2011
                                              filed on__________________.

                                                                                          8/19/2011
        In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.


                                                            SARAH ALLISON THORNTON
                                                            Clerk of Court


                                                            /s/ Jeanette Ramos
                                                            ____________________________
                                                            Deputy Clerk




COURT OF APPEALS DOCKET NUMBER ASSIGNED:                         ___________________________________


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